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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JASON A. BRANUM,

     Plaintiff,

v.                                          CIVIL ACTION FILE

                                            NO. 1:20-cv-2801-AT
NORFOLK SOUTHERN RAILWAY
COMPANY, NORFOLK
SOUTHERN CORPORATION,
DIANE BARNETT, TERRY
BUTTERFIELD, TERRY M.
WILLIAMS, and THOMAS
BARTLEY, JR.,

     Defendants.

                  ORDER ADMINISTRATIVELY CLOSING CASE

        The Court has been advised by the Magistrate Judge to whom this case was

referred for mediation that the action has settled. Therefore, it is not necessary for

this action to remain on the Court’s calendar or active docket.

        Accordingly, IT IS HEREBY ORDERED that the action is DISMISSED

WITHOUT PREJUDICE to the right of any party, anytime within the next

THIRTY (30) DAYS, to reopen this action or vacate this order of dismissal.

        It is further ORDERED that the Court retains jurisdiction to vacate this
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order of dismissal and to reopen the action, if necessary. If the action has not been

reopened or the Court has not received a motion to vacate on or before the time

permitted by this Order, the action will be dismissed with prejudice.

      Let a copy of this order be served upon counsel for the parties.

      IT IS SO ORDERED, this 16th day of December, 2022.




                                       ___________________________________
                                       AMY TOTENBERG
                                       UNITED STATES DISTRICT JUDGE




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